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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION


DERWIN RENWICK MCWAINE                                                             PETITIONER

v.                                                         CRIMINAL NO. 4:98-CR-00022-D-V

UNITED STATES OF AMERICA                                                         RESPONDENT


                     MEMORANDUM IN OPPOSITION TO
            MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE
                        PURSUANT TO 28 U.S.C. § 2255

       Comes now the United States of America, by and through the United States Attorney for

the Northern District of Mississippi, and files its Memorandum in Opposition to [Doc. #183)

Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255, and is support

thereof would show the following:

                                          Background

       Petitioner, DERWIN RENWICK McWAINE, was tried and convicted by a jury of his

peers of various violations of federal gun and drug offenses in August 1998. Petitioner filed a

notice of appeal. This Court appointed counsel to represent Petitioner during an exhaustive

appeals process. Petitioner was successful in his appeals and the Fifth Circuit Court of Appeals

ordered that his case be remanded to the District Court for re-sentencing. This Court re-

sentenced McWaine on March 30, 2001, to a term of imprisonment of 50 years, followed by 5

years supervised release, and a $900 assessment for each count of conviction. (See Doc #130).

Despite being re-sentenced by the Court to a lesser term of imprisonment, Petitioner continued to

file various motions with the court seeking a lesser sentence and his immediate release.
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Petitioner eventually appealed the rulings of the District Court to the Fifth Circuit in November

2003, all of which were affirmed.

       Petitioner then filed additional motions for relief which he characterized as motions for

relief from judgment pursuant to Federal Rule of Civil Procedure 60(b)(3). Petitioner alleged in

his previous filings that there was newly discovered evidence and that he was prejudiced by his

appellate counsel’s failure to file a brief. These motions were treated by the Court effectively as

a 28 U.S.C. § 2255 motion to vacate, amend or alter sentence. This Court found these motions

to be prohibited because Petitioner had previously sought relief pursuant to § 2255. The Court

denied Petitioner’s second § 2255 motion on November 13, 2006 (See Doc # 160) because

Petitioner had not received permission from the Fifth Circuit Court of Appeals to file a second or

subsequent motion under 28 U.S.C. § 2255 . In the motion sub judice, Petitioner again seeks

relief pursuant to § 2255 having previously file two prior motions.

                                            Discussion

       Petitioner has previously filed two successive or second §2255 motions with this Court.

However, Petitioner has not received permission from the Fifth Circuit Court of Appeals to file

such motions, therefore any relief sought pursuant to this section would be plainly improper.

       Under 28 U.S.C. § 2255, as amended by the Anti-Terrorism and Effective Death Penalty

Act of 1996, Pub. L. 104-132, a federal prisoner may not file a second or successive motion to

vacate unless a three-judge panel of the court of appeals certifies that the motion relies on either

               (1) newly discovered evidence, that if proven and viewed in a light
               of the evidence as a whole, would be sufficient to establish by clear
               and convincing evidence that no reasonable fact finder would have
               found movant guilty of the offense; or

               (2) a new rule of constitutional law, made retroactive to cases on
               collateral review by the Supreme Court, that was previously unavailable.
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28 U.S.C. § 2255.

       Petitioner does not even acknowledge the statutory requirements and clearly cannot meet

them. As this Court has previously noted in its prior rulings, “Petitioner is simply attempting to

circumvent the procedural safeguards which he must traverse.” (See page 2, Doc #160).

Petitioner has not made any showing to this Court that he has obtained the necessary certification

from the Fifth Circuit, nor has he made any showing of any error of law or fact that would justify

the Court’s examination of his pleadings pursuant to § 2255. Petitioner has previously sought

relief on two prior occasions, and in each instance been denied by this Court. Petitioner cannot

make any colorable showing to justify relief pursuant to 28 U.S.C. § 2255, therefore his request

must be denied.

       Respectfully submitted, this the 21st day of June, 2012.

                                             FELICIA C. ADAMS, MS Bar 1049
                                             United States Attorney


                                             By:     /s/ Chad M. Doleac
                                               CHAD M. DOLEAC, MS Bar No. 100590
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                                CERTIFICATE OF SERVICE

       I, Chad M. Doleac, AUSA, do hereby certify that I electronically filed the foregoing with

the Clerk of the Court using the ECF system which sent notification of such filing to the

following:

               NONE

and I hereby certify that I have mailed by United States Postal Service the document to the

following non-ECF participants:

               Derwin Renwick McWaine
               Reg. No. 10797-042
               P.O. Box 019001
               Atwater CA 95301

       This 21st day of June, 2012.


                                                     /s/ Chad M. Doleac
                                                    CHAD M. DOLEAC
                                                  Assistant United States Attorney
